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                   FILED
                      UNDER

                     SEAL
      Case 2:10-cr-00547-RFB-PAL Document
                       UNITED STATES      267 Filed
                                      DISTRICT      05/25/11
                                                COURT                              Page 2 of 3
                                          for the
                                   DISTRICT OF NEVADA

U.S.A. vs. Jacob McLaughlin                                      Docket No. 2:10-CR-00547-RLH-RJJ

                         Petition for Action on Conditions of Pretrial Release

         COMES NOW TERRY L. WHEATON, UNITED STATES PRETRIAL SERVICES OFFICER,
presenting an official report upon the conduct of defendant, Jacob McLaughlin, who was placed under
pretrial release supervision by Honorable Peggy A. Leen in the Court at Las Vegas, Nevada, on October
29, 2010, on a Personal Recognizance Bond with the following conditions:

1. Pretrial Services supervision.
2. No use or possession of controlled substances.
3. No association with those using or possessing controlled substances.
4. Refrain from the use or possession of controlled substances.
4. Drug testing as directed by Pretrial Services.
6. Participate in a mental health treatment program as directed by Pretrial Services.
7. Maintain or actively seek employment and notify Pretrial Services prior to any change.
8. Participate in the electronic monitoring program under home confinement as deemed appropriate
   by Pretrial Services.( Deleted February 14, 2011)
9. Maintain residence in the GEO Care halfway house (Amended January 28, 2011)

Respectfully presenting petition for action of Court and for cause as follows:

       On April 12, 2011, Mr. McLaughlin submitted to a urine sample which tested positive for the
       use of marijuana. On April 15, 2011, the NationalTesting Laboratory (NTL) confirmed that the
       aforementioned sample was positive for marijuana.


PRAYING THAT THE COURT WILL ORDER ASUMMONS BE ISSUED, AND A HEARING BE HELD TO
SHOW CAUSE WHY PRETRIAL RELEASE SHOULD NOT BE REVOKED.


 ORDER OF COURT                                   I declare under penalty of perjury that the
                                                  information herein is true and correct.
 Considered and ordered this 18th day of April,   Executed on this 9th day of May , 2011
 2011, and ordered filed and made a part of
 the records in the above case.                   Respectfully Submitted,



 ___________________________________              ___________________________________
 Honorable Peggy A. Leen                          Terry L. Wheaton II
 United States Magistrate Judge                   United States Pretrial Services Officer

                                                  Place: Las Vegas, Nevada
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                             UNITED STATES DISTRICT COURT
                                     District of Nevada



UNITED STATES OF AMERICA,               )                    Case No. 2:10-CR-00547-RLH-RJJ
Plaintiff,                              )
                                        )
      v.                                )                   PETITION FOR ACTION
                                        )                   ON CONDITIONS OF
 Jacob McLaughlin                       )                   PRETRIAL RELEASE
Defendant                               )



     Attached hereto and expressly incorpora ted herein is a Petition for Action on Conditions of

Pretrial Release concerning the above-named defendant prepared by Terry L. Wheaton II , Pretrial

Services Officer. I have reviewed that Petition and believe there is suf ficient credible evidence

which can be presented to the Court to prove the conduct alleged, and I concur in the recommended

action requested of the Court.

     Dated this 9th day of May, 2011.


                                                            Daniel Bogden
                                                            United States Attorney


                                                            By    /S/
                                                                 Patrick Walsh
                                                                 Assistant U. S. Attorney
